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 1                                 UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3 United States of America,                                Case No.: 2:14-cr-00228-JAD-CWH

 4             Plaintiff/Respondent

 5 v.                                                      Order Directing Response to § 2255
                                                           Motion and Setting Briefing Schedule
 6 Charles Edward Cooper, Jr.,

 7             Defendant/Petitioner

 8            Defendant Charles Edward Cooper, Jr., filed a 28 U.S.C. § 2255 petition, arguing that his

 9 sentence should be vacated or reduced. 1 A response from the government appears warranted.

10            IT IS THEREFORE ORDERED that the government must file a response to Cooper’s

11 petition [ECF No. 259] by June 8, 2020. Cooper will then have 30 days from service of the

12 answer to file a reply.

13            Dated: May 6, 2020

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                                                              U.S. District Judge Jennifer A. Dorsey
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         ECF No. 259.
